      Case 3:17-cv-00216-MCR-EMT Document 7 Filed 05/25/17 Page 1 of 2



                                                                               Page 1 of 2

                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION


KEVIN PICKETT,

      Plaintiff,

v.                                                 CASE NO. 3:17cv216-MCR/EMT

MAURY COBB, ATTORNEY AT
LAW, LLC; and DOES 1-10,
inclusive,

     Defendanta.
____________________________/


                             ORDER OF DISMISSAL

      The Court has been informed that the parties have reached a settlement of this

matter. See ECF No. 6. Therefore, the Court hereby DISMISSES the above-entitled

action from the active docket of the Court. In the event the settlement is not

consummated, the Court reserves the power to reopen the case for further proceedings

upon motion filed by any party within sixty (60) days of the date of this Order and a

showing of good cause. At this time, the Clerk is directed to close the file in this case
      Case 3:17-cv-00216-MCR-EMT Document 7 Filed 05/25/17 Page 2 of 2



                                                                            Page 2 of 2

for administrative purposes. Upon the expiration of sixty (60) days without activity,

the Clerk is directed to close the case in its entirety for all purposes.

       DONE and ORDERED on this 25th day of May, 2017.




                                   s/   M. Casey Rodgers
                                  M. CASEY RODGERS
                                  CHIEF UNITED STATES DISTRICT JUDGE




Case No. 3:15cv216-MCR/EMT
